Filed 8/21/24 Anderson v. Ciego CA2/3
  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(a). This opinion has
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION THREE


YVONNE T. ANDERSON,                                            B322765

         Plaintiff and Respondent,                             (Los Angeles County
                                                               Super. Ct.
         v.                                                    No. 18STCV04291)

ALLEN B. CIEGO et al.,

         Defendants and Appellants.



     APPEAL from orders of the Superior Court of Los Angeles
County, Rupert A. Byrdsong, Judge. Affirmed.
     Ernest G. Ciego, in pro. per., for Defendant and Appellant.
     Allen B. Ciego, in pro. per., for Defendant and Appellant.
     Monica R. Morgan, in pro. per., for Defendant and
Appellant.
     Shelmadine M. Mariano, in pro. per., for Defendant and
Appellant.
      Eddieson M. Ciego, in pro. per., for Defendant and
Appellant.
      Stone &amp; Sallus, Jason M. Stone, and Scott J. Kalter, for
Plaintiff and Respondent.
         ______________________________________________

                         INTRODUCTION
      Defendants and appellants Ernest G. Ciego, Allen B. Ciego,
Monica R. Morgan, Shelmadine M. Mariano, and Eddieson M.
Ciego appeal1 from various proceedings in this real property
dispute. As appellants fail to brief any cognizable claims of error
or support their contentions with citations to pertinent law and
the record, they did not meet their burden of demonstrating error
on appeal. Thus, we affirm the trial court’s orders.
         FACTS AND PROCEDURAL BACKGROUND
      In 2018, plaintiff and respondent Yvonne T. Anderson filed
this action, challenging the validity of a quitclaim deed conveying
to appellants title to a Los Angeles property owned by Anderson’s
mother, Ella Ciego.2 Anderson alleged the quitclaim deed was
invalid because appellants threatened, harassed, and pressured
Ella to execute it. Ella was allegedly mentally incompetent and
reliant on appellants to maintain her health and well-being.
Anderson alleged that she solely owned the property because Ella
agreed that upon Ella’s death, Ella would transfer the property to


1     This court granted appellants’ motion to consolidate
appeals, ordering appeal Nos. B325069, B322765, and B324147
consolidated under appeal No. B322765.

2     We refer to Ella Ciego as Ella since she shares a last name
with some of the appellants.



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Anderson in exchange for naming Anderson as a co-borrower on a
loan that was used to repair and improve the property. Anderson
sought quiet title, cancellation of instrument, and partition,
among other relief, against appellants.
      The parties settled this case in January 2021. The
settlement agreement provided that Anderson and appellants
would each assume half of all costs and expenses of the property
to bring it current with the lender and remove the property from
foreclosure proceedings. The parties also agreed to sell the
property and divide the proceeds equally. Anderson moved to
enforce the settlement agreement in November 2021. In January
2022, the trial court granted Anderson’s motion and set an order
to show cause regarding the status of the settlement agreement’s
enforcement.
      From April 2022 to October 2022, Anderson applied ex
parte three separate times to enforce the settlement agreement.
The court granted these ex parte applications on August 17, and
October 13, 2022. On November 23, 2022, the court granted
Anderson’s ex parte application for appointment of a receiver to
oversee the sale of the property.
      Appellants timely appealed.
                           DISCUSSION
      Based on the notices of appeal, we discern that appellants
challenge the August 17, and October 13, 2022 orders enforcing
the settlement, and the November 23, 2022 appointment of a
receiver. However, appellants’ incoherent briefs fail to raise any
cognizable legal issues.
      “Perhaps the most fundamental rule of appellate law is
that the judgment [or order] challenged on appeal is presumed
correct, and it is the appellant’s burden to affirmatively




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demonstrate error.” (People v. Sanghera (2006) 139 Cal.App.4th
1567, 1573.) “ ‘All intendments and presumptions are indulged to
support [a judgment or order] on matters as to which the record
is silent, and error must be affirmatively shown.’ ” (Denham v.
Superior Court (1970) 2 Cal.3d 557, 564.) “ ‘In order to
demonstrate error, an appellant must supply the reviewing court
with some cogent argument supported by legal analysis and
citation to the record.’ ” (United Grand Corp. v. Malibu
Hillbillies, LLC (2019) 36 Cal.App.5th 142, 146 (United Grand
Corp.); Cal. Rules of Court, rule 8.204 [briefs must “support each
point by argument and, if possible, by citation of authority” and
must “[s]upport any reference to a matter in the record by a
citation to the volume and page number of the record where the
matter appears.”].) Appellants who fail to satisfy this
requirement forfeit their argument on appeal. (See United
Grand Corp., at pp. 146, 156, 161; Landry v. Berryessa Union
School Dist. (1995) 39 Cal.App.4th 691, 699–700 [“When an issue
is unsupported by pertinent or cognizable legal argument it may
be deemed abandoned and discussion by the reviewing court is
unnecessary.”].) Further, “[i]t is not the task of the reviewing
court to search the record for evidence that supports the party’s
statement; it is for the party to cite the court to those references.
Upon the party’s failure to do so, the appellate court need not
consider or may disregard the matter.” (Regents of University of
California v. Sheily (2004) 122 Cal.App.4th 824, 826, fn. 1.)
       Appellants have the burden not only to show error but
prejudice from that error. (Cal. Const., art. VI, § 13.) “[W]e
cannot presume prejudice and will not reverse the judgment in
the absence of an affirmative showing there was a miscarriage of
justice. [Citations.] Nor will this court act as counsel for




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appellant by furnishing a legal argument as to how the trial
court's ruling was prejudicial.” (Century Surety Co. v. Polisso
(2006) 139 Cal.App.4th 922, 963.) And, it is well established that
“ ‘[w]hen a litigant is appearing in propria persona, he is entitled
to the same, but no greater, consideration than other litigants
and attorneys [citations].’ ” (Harding v. Collazo (1986) 177
Cal.App.3d 1044, 1056.)
       Here, appellants’ briefs consist of numerous haphazard,
disjointed arguments lacking support. From what we can glean,
appellants assert that Anderson’s counsel lied about certain
information; the trial court violated appellants’ due process rights
due to judicial bias or failure to verify certain information; the
court lacked jurisdiction to issue its orders; and the court abused
its discretion by denying appellants’ request for a continuance of
their prior counsel’s motion to be relieved as counsel. Appellants
also digress into conspiratorial ramblings that the settlement
agreement was forged, Anderson’s attorneys were trying to steal,
and the property was sold in an “illegal kick-back sale.”
       However, appellants fail to cogently discuss any of the
foregoing matters or support their contentions with pertinent
legal authority and citations to the record. (See United Grand
Corp., supra, 36 Cal.App.5th at p. 153 [“We may and do
‘disregard conclusory arguments that are not supported by
pertinent legal authority or fail to disclose the reasoning by
which the appellant reached the conclusions he wants us to
adopt’ ”].) Appellants have not demonstrated prejudice or a
miscarriage of justice, let alone articulate error.3 Appellants

3     California Rules of Court, rule 8.204(a)(2) requires
appellants to “[s]tate the nature of the action, the relief sought in




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have therefore forfeited these arguments on appeal. (See id. at
pp. 146, 156, 161; Regents of University of California v. Sheily,
supra, 122 Cal.App.4th at p. 826, fn. 1; Landry v. Berryessa
Union School Dist., supra, 39 Cal.App.4th at pp. 699–700.)
      In short, appellants have not met their most basic burden
on appeal. Accordingly, we find no basis to disturb the trial
court’s rulings.




the trial court, and the judgment or order appealed from.” (Cal.
Rules of Court, rule 8.204(a)(2)(A).) Rule 8.204(a)(2) also
requires appellants to “[s]tate that the judgment appealed from is
final, or explain why the order appealed from is appealable” and
to “[p]rovide a summary of the significant facts limited to matters
in the record.” (Id., rule 8.204(a)(2)(B), (C).) As discussed above,
appellants’ papers do not even satisfy these basic requirements.
They do not clearly identify the orders appealed from or explain
why they are appealable. Appellants fail to state the nature of
the action or provide a summary of the significant facts.




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                       DISPOSITION
     We affirm the August 17, 2022, October 13, 2022, and
November 23, 2022 orders. Plaintiff and respondent Yvonne T.
Anderson is awarded her costs on appeal.


    NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS



                                     BERSHON, J.*

We concur:



                  EDMON, P. J.



                  ADAMS, J.




*     Judge of the Los Angeles Superior Court, assigned by the
Chief Justice pursuant to article VI, section 6 of the California
Constitution.



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